
870 So.2d 303 (2004)
Casey BILLIESON, Individually and on Behalf of Her Minor Children, Ryan Billieson and Ronnie Gladstone; and Dione Coleman, Individually and on Behalf of Her Minor Children, Dwayne Coleman, Ciera Coleman and Marcel Coleman; and Rose Thomas, et al.
v.
CITY OF NEW ORLEANS, Housing Authority of New Orleans, C.J. Brown Public Housing Management Company, XYZ Insurance Company, and Louisiana Insurance Guaranty Association.
No. 2004-C-0563.
Supreme Court of Louisiana.
April 23, 2004.
Denied.
